                   United States v. Benjamin A. Carpenter – 3:21-cr-038-KAC-DCP
                   Part II— Supplemental Statement of the Reasons for Detention

        In consideration of releasing the Defendant pending trial, the Court has weighed the factors
set forth in 18 U.S.C. § 3142(g) and finds that the arguments and exhibits presented at the detention
hearing, as well as the Amended Pretrial Services Report (“PSR”) compiled by the United States
Probation Office, establishes by clear and convincing evidence that the Defendant is a danger to
the community, and by a preponderance of the evidence, a risk of non-appearance, for the reasons
set forth below.
        Pursuant to the Bail Reform Act, 18 U.S.C. § 3141, et seq., a defendant may be detained
pending trial only when a judicial officer “finds that no condition or combination of conditions
will reasonably assure the appearance of the person as required and the safety of any other person
and the community.” 18 U.S.C. § 3142(e). The default position of the law that a defendant should
be released pending trial is modified for certain defendants considered “particularly dangerous.”
United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). If probable cause exists to believe that
a defendant committed one of the crimes listed in 18 U.S.C. § 3142(e)(3), there is a rebuttable
presumption in favor of detention. A grand jury indictment alone will satisfy the probable cause
requirement. See United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985).

        Section 3142(e)(3) imposes a “burden of production” on the defendant, while the
Government retains the ultimate “burden of persuasion.” Stone, 608 F.3d at 945. While a
defendant’s burden of production is not heavy, the defendant must come forward with some
evidence to suggest he poses neither a risk of flight nor a danger to the community. Id. (citing
United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)). Satisfying this burden of production
is insufficient to overcome fully the presumption in favor of detention; instead, the presumption
remains a factor to be weighed by the district court. Id.

       Here, Defendant is charged in the Indictment [Doc. 3] with the attempted provision of
material support to a designated foreign terrorist organization, in violation of 18 U.S.C. §
2339B(a)(1). This is a “Federal crime of terrorism,” which the Bail Reform Act specifically
compels the courts to take into account when assessing detention issues. 18 U.S.C. § 3142(g)(1).
This charge creates a rebuttable presumption that there is “no condition or combination of
conditions [that] will reasonably assure the appearance of the person as required and the safety of
the community.” 18 U.S.C. § 3142(e)(3).

        To overcome the initial presumption, Defendant tendered his mother as a proposed third-
party custodian, who testified that she would ensure Defendant abided by the terms of any imposed
release conditions, and Defendant proffered that he was on the no-fly list, which would restrict air
and sea travel, as well as that the FBI had seized his passport. While Defendant has overcome the
relatively low threshold imposed by the burden of production, after considering the factors of 18
U.S.C. § 3142(g)(1), the Court finds that the Government has adequately satisfied its burden of
persuasion to warrant his pretrial detention. See, e.g., United States v. Hefner, No. 3:18-cr-136,
2019 WL 612704, at *2 (E.D. Tenn. Feb. 13, 2019) (“The burden of production is ‘not heavy,’ and
the defendant satisfies the burden simply by introducing ‘some evidence’ in rebuttal.”) (quoting
Stone, 608 F.3d at 945) (additional internal citations omitted); United States v. Fei Guo Tang, No.
319-CR-014-GFVT-MAS, 2019 WL 2453655, at *3 (E.D. Ky. June 12, 2019) (“Although Mr.
Tang has overcome the low rebuttal threshold necessary to overcome the presumption of
dangerousness and risk of flight, the Court finds the Government has adequately satisfied its
burden of persuasion to warrant his pretrial detention.”).

         First, the Court considers the nature and circumstances of the charged offense, which
clearly weigh in favor of detention. 18 U.S.C. § 3142(g)(1). As discussed, the statute specifically
directs the Court to consider whether the charged offense involves a “Federal crime of terrorism.”
18 U.S.C. § 3142(g)(1). During the hearing, the Government proffered that the crime charged
carries a maximum term of imprisonment of twenty years, as well as argued that due to a terrorism
enhancement, Defendant faces a base offense level of 38 under the Sentencing Guidelines, and
thus is likely to face a full twenty-year sentence if convicted.

        Defendant is charged with attempting to provide material support and resources to the
Islamic State of Iraq and al-Sham (“ISIS”). The Redacted Affidavit in Support of an Application
for a Search Warrant of Defendant’s residence, introduced as Exhibit 2 to the hearing, alleges that
Defendant is the leader of Ahlut-Tawhid Publications (“ATP”), an international organization
responsible for the transcription and publication of pro-ISIS media in English. Defendant is known
as “Abu Hamza” in his communications with ATP members.

        During the hearing, the Government proffered that a FBI Online Covert Employee
(“OCE”) was able to gain access to a Telegram group message—an encrypted messaging service
application that promotes itself as protecting users from governmental data requests—with
Defendant and several ATP members. The FBI OCE represented to Defendant that she/he
maintained connections with the “Diwan”—ISIS’s centralized organization that distributes media
internationally—and that ISIS had requested ATP’s assistance in providing English translations.
The FBI OCE requested Defendant’s assistance in transcribing a video entitled “Bleeding
Campaigns,” a twenty-five minute video that documents ISIS’s military operations against
Egyptian troops, including ISIS fighters engaging in battle, executing a suicide bombing, and
capturing and executing three individuals. See [Exh. 2]. Defendant subsequently agreed to assist,
and aided by other ATP members, provided a complete English transcript of the video while
believing that this transcription would be used by ISIS.

        Second, the weight of the evidence of Defendant’s dangerousness weighs in favor of
detention. 18 U.S.C. § 3142(g)(2). In Stone, the Sixth Circuit clarified that the weight of the
evidence against the defendant “goes to the weight of the evidence of dangerousness, not the
weight of the evidence of the defendant’s guilt.” 608 F.3d at 948. At the hearing, the Government
proffered that Defendant had a leadership role in ATP, an organization with international members
that engaged in the transcription and publication of pro-ISIS media publications. Moreover, the
Government proffered that Defendant was in communication with several individuals arrested on
terrorism-related charges both in the United States and internationally, as well as that
investigations into several of these individuals referenced Abu-Hamza. See [Exhs. 10–14].
Additionally, Defendant was in regular communication on the intercepted Telegram group

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message with Mohamad Ameen, a known recruiter and key leader for ISIS in Syria, Afghanistan,
and the Maldives. [Exh. 11]. The Government also introduced as Exhibits 3, 4, and 5 several pro-
ISIS newsletters published by ATP. [SEALED Exhs. 3–5].
        More significantly, however, the Government introduced exhibits establishing Defendant’s
communications with an ATP member who was incarcerated in an Australian prison for terrorism
offenses, as well as messages about how to communicate with this individual in contravention of
the Australian “control order,” similar to conditions of supervised release. [SEALED Exhs. 8–9].
Defendant also communicated with ATP members about his acknowledged status of being on the
“no-fly list,” and discussed his ability to travel to Mexico to evade this restriction. [SEALED Exh.
7]. 1 The Court finds that Defendant’s large network of international contacts, communications
expertise, specific communications referencing a disregard for imposed conditions of release, use
of encrypted messaging platforms, as well as support for an extremely violent international
terrorist organization establish by a preponderance of the evidence that Defendant poses a severe
flight risk. Although Defendant claims that his passport has been seized, his communications
establish a demonstrated knowledge of the potential ability to circumvent the no-fly list, and thus,
impermissibly travel internationally.
        Next, the Court must consider a host of factors in regard to the history and characteristics
of Defendant, which factors the Court also finds weigh in favor of detention. 18 U.S.C. §
3142(g)(3)(A). The Court notes that Defendant has family ties to the Eastern District of Tennessee
through his mother—the proposed third-party custodian. However, Defendant is not significantly
employed, as his mother testified at the detention hearing that he previously worked, at most, ten
hours per week. The PSR details that Defendant reported no history of mental health issues, as
well as advised that he previously was a heavy smoker of marijuana but ceased use approximately
nine years ago.
       Next, in considering these factors, the Court may also consider both actual convictions and
mere arrests or charges to assess the Defendant’s dangerousness, though the latter will typically
weigh less heavily in favor of detention. United States v. Tolbert, Nos. 3:09CR56 & 3:10CR30,
2017 WL 6003075, at *5 (E.D. Tenn. Dec. 4, 2017) (citations omitted). Defendant has a minimal
criminal history, although his probation was revoked after a conviction of a charge of possession
of drug paraphernalia in Knox County Sessions Court on December 15, 2008.
        Finally, under the pertinent part of 18 U.S.C. § 3142(g)(4), the Court must consider “the
nature and seriousness of the danger to any person or the community that would be posed by the
person’s release.” While Defendant has a minimal criminal history, as stated above, the Court
finds the rationale in United States v. Hir applicable, where the Ninth Circuit noted that “[a]lthough
each case requires a fact-specific inquiry into the potential danger posed by the individual
defendant . . . at least two district courts reached similar conclusions [that the defendant poses a
risk of danger to the community] in cases in which defendants with no criminal history and strong

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          While the Court has cited to several sealed exhibits, the referenced information from these
exhibits was discussed during the open detention hearing and is available in the unredacted portion
of the transcript.
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community ties were accused of crimes involving terrorism.” 517 F.3d 1081, 1091 n.8 (9th Cir.
2008) (citing United States v. Al-Arian, 280 F. Supp. 2d 1345, 1355–57 (M.D. Fla. 2003); United
States v. Goba, 240 F. Supp. 2d 242, 257–58 (W.D.N.Y. 2003)). Defendant has attempted to
engage in assisting an extremely violent international terrorist organization and has demonstrated
his history of support through his communications and personal documents.
         Defendant proposes to reside with his mother, on house arrest with electronic monitoring,
without any Internet access. However, the Court finds that there is no “failsafe way to prevent any
and all exposure” to Internet-capable devices, particularly in light of the Government’s proffer that
Defendant previously utilized his mother’s work computer without her knowledge. See United
States v. Fei Guo Tang, No. 3:19-CR-014-GFVT-MAS, 2019 WL 2453655, at *4 (E.D. Ky. June
12, 2019). Further, Defendant resided with his mother when he was alleged to have committed
the instant offenses, and she testified at the hearing that she was aware that Defendant spent a
significant amount of time on the Internet, communicated with an Australian prisoner, and was
referred to as Abu Hamza. The Court does not find that any proposed conditions will be sufficient
to limit the risk of danger and risk of flight due to Defendant’s sophisticated knowledge of
encrypted messaging applications and statements indicating an intent/ability to circumvent the no-
fly list or an Australian “control order” of release.
        Moreover, Defendant presents a grave danger to both the local and international
communities due to his association and ability to communicate with pro-ISIS individuals
throughout the world. The Government correctly states that Defendant presents the risk of
continuing to promote pro-ISIS propaganda, but more significantly, alert other ATP members
about the specific details of his arrest and law enforcement’s investigation. The United States
Probation Office has recommended that Defendant be detained largely due to the nature of the
instant offense, risk of flight, and safety concerns for the community, among other factors.
        Consequently, the Court finds that the evidence and information provided at the hearing
established by a preponderance of the evidence that Defendant is a risk of flight, as well as that by
clear and convincing evidence that Defendant poses a serious risk of danger to the community or
another person. The Court finds that no condition or combination of conditions will reasonably
assure the safety of individuals of the community if Defendant were released on bond or ensure
Defendant’s appearance at trial. Therefore, Defendant shall be detained pending trial.




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